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     6:20-mc-00009-JDK
        1:24-cv-00642-BMB
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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                            TYLER DIVISION

 IN THE MATTER OF                      §
                                       §
                                       §     Case No. 6:20-mc-9-JDK
                                       §
                                       §
 JASON LEE VAN DYKE                    §

             ORDER DISCHARGING PROBATED SUSPENSION

      Before the Court is Jason Lee Van Dyke’s motion to terminate his probated

suspension (Docket No. 17).

      On June 12, 2020, the Court suspended Mr. Van Dyke from the practice of law

in this District for eighteen months, including an active suspension from June 12,

2020 through December 11, 2020, and a probated suspension from December 12, 2020

through December 12, 2021. Docket No. 6 at 5.

      On December 9, 2020, this Court ordered Movant reinstated as a member of

the bar of this Court, effective December 12, 2020, with Mr. Van Dyke remaining on

probation through December 12, 2021. Docket No. 15. The period of probation has

now expired. Accordingly, the Court hereby GRANTS the motion and ORDERS that

Mr. Van Dyke is immediately discharged from the probated portion of his suspension

from the practice of law in the Eastern District of Texas. The Clerk of Court is

instructed to close this proceeding.

      So ORDERED and SIGNED this 24th day of January, 2022.



                                           ___________________________________
                                           JEREMY D. KERNODLE
                                           UNITED STATES DISTRICT JUDGE
